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   IT IS ORDERED as set forth below:



   Date: January 30, 2020
                                                                  _________________________________

                                                                              Sage M. Sigler
                                                                       U.S. Bankruptcy Court Judge

 ________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

IN RE:                                                     |
                                                           |        CHAPTER 13
ANTHONY CARVER MCCLARN,                                    |
         DEBTOR                                            |        CASE NO. 14-75160-SMS
-----------------------------------------------------------|---------------------------------------
ANTHONY CARVER MCCLARN,                                    |
         MOVANT                                            |
VS.                                                        |            CONTESTED MATTER
CITIZENS TRUST BANK,                                       |
         RESPONDENT                                        |

     CONSENT ORDER DEBTOR’S MOTION TO DEEM MORTGAGE CURRENT

         On April 23, 2019, Debtor filed a Motion to Deem Mortgage Current (Docket No.

76)(the “Motion”) seeking a determination that he is current on his mortgage loan with Citizens

Trust Bank (“Citizens” or “Respondent”) and to resolve various other issues with the mortgage

loan. After multiple continuances, the Motion came before the Court for hearing on August 27,

2019. At the hearing, attorneys for the Movant and for Respondent reached an agreement as to
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the Motion as incorporated herein below.

        THE PARTIES AGREE:

        That the post-petition arrearage through January 1, 2020 is $19,899.80. Once Debtor

tenders certified funds to Respondent in the amount of $15,794.24 and Respondent applies the

excess escrow balance of $4,105.56, Debtor will be current through January 1, 2020 and due for

the February 1, 2020 payment. The parties further agree:

        That Debtor has paid in full the amount required to satisfy Respondent’s pre-petition

arrearage claim. The parties further agree

        That Respondent has not and will not assess Debtor’s loan any additional interest due to

Debtor tendering mortgage payments later than their respective due dates, or in other words,

interest charged on the account will be the same as if all payments had been tendered timely.

The partiers further agree;

        Debtor will be allowed online access to his mortgage account once the case has closed.

Accordingly, it is hereby

        ORDERED that Debtor shall tender certified funds in the amount of $15,794.24 to

Respondent within ten (10) days of entry of this Order; it is

        FURTHER ORDERED that Respondent shall apply the excess escrow balance of

$4,105.56 to Debtor’s principal and interest payments; it is

        FURTHER ORDERED that Respondent shall allow Debtor online access to his

account within seven calendar days following the closing of this case and through and until the

loan is satisfied or transferred.

        This matter resolves all outstanding issues in the case. The Clerk may close this

bankruptcy case.
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Prepared and Submitted by
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____________________________________
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Consent to by:

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